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19                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
20                                    OAKLAND DIVISION

21   IN RE PLAID INC. PRIVACY                      Master Docket No.: 4:20-cv-03056-DMR
     LITIGATION
22                                                 DECLARATION OF RACHEL GEMAN
                                                   IN SUPPORT OF PLAINTIFFS'
23   THIS DOCUMENT RELATES TO:                     OPPOSITION TO MOTION TO
24   ALL ACTIONS                                   DISMISS

25                                                 Hon. Donna M. Ryu

26                                                 Action Filed:   May 4, 2020

27                                                 Trial Date:     None Set

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                                                                                    GEMAN DECLARATION
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 1               I, Rachel Geman, declare and state as follows:
 2               1.     I am an attorney at Lieff Cabraser Heimann & Bernstein, LLP, counsel for the Plaintiffs
 3   and the proposed Classes in the above captioned litigation. I am a member in good standing of the State
 4   Bar of New York. I am older than 21 years of age and am not a party to this action. I make this
 5   declaration in support of Plaintiffs’ Opposition to Defendant Plaid, Inc.’s Motion to Dismiss (Dkt. 78).
 6   If called upon to testify, I could and would testify competently to the truth of the matters stated herein.
 7               2.     Attached hereto as Exhibit 1 is a true and correct copy of the Complaint in Toronto-
 8   Dominion Bank v. Plaid Inc., No. 20-14424 (D.N.J.), filed October 14, 2020.
 9               3.     Attached hereto as Exhibit 2 is a true and correct copy of Assembly Committee on
10   Appropriations Bill Analysis regarding Senate Bill 355 (July 13, 2005).
11               4.     Attached hereto as Exhibit 3 is a true and correct copy of Assembly Committee on
12   Judiciary Bill Analysis regarding Senate Bill 355 (June 28, 2005).
13               5.     Attached hereto as Exhibit 4 is a true and correct copy of Senate Rules Committee Bill
14   Analysis regarding Senate Bill 355 (August 25, 2005).
15               6.     Attached hereto as Exhibit 5 is a true and correct copy of Introduction of Senate Bill 355
16   by Senator Murray (February 16, 2005).
17               7.     Attached hereto as Exhibit 6 is a true and correct copy of Assembly Committee on
18   Business and Professions Bill Analysis regarding Senate Bill 355 (June 21, 2005).
19               8.     Attached hereto as Exhibit 7 is a true and correct copy of Senate Judiciary Committee
20   Bill Analysis regarding Senate Bill 355 (April 5, 2005).
21               I declare under penalty of perjury that the foregoing is true and correct. Executed this 17th day
22   of November, 2020, at New York, New York.
23

24
                                                                   /s/ Rachel Geman
25                                                                     Rachel Geman

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                                                                                                GEMAN DECLARATION
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